Case 1:13-md-02419-RWZ Document 3583-6 Filed 06/11/22 Page 1 of 34




              EXHIBIT F
               Case 1:13-md-02419-RWZ Document 3583-6 Filed 06/11/22 Page 2 of 34

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                                                                                                       COB~  Coordination of
                                                                                                       Benefits and Recovery




      January 23,2017


         814 AT 1.260
         ***3-DIGIT 480 R:81 T:l P:7 PC:19 F:693902
         FIEGER, FIEGER, KENNEY, GIROUX & DANZIG, P.e.
         19390 W 10 MILE RD
         SOUTHFIELD, MI48075-2458
                                                                                             *COpy*
                                                                                                For Information Only


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      January 23, 2017
                                                                                                       JAN 28 20\7
         814 AT 1.260
         ***3-DIGIT 480 R:81 T:l P:7 PC: 19 F:693902                                                   FiegerLaw
         SOUTH LYON SENIOR CARE& REHAB CENTER
         700 REYNOLD SWEET PKWY
         SOUTH LYON, MI 48178-1816




      Beneficiary Name:
      Medicare Number:
      Case Identification N


                                                                             SEND PAYMENT AT THIS TIME.

      Subject: B                    'L.-VHUJlUVH(;U    Payment Letter

      Dear SOUTH L                                  CARE& REHAB CENTER:

      If we know you have a representative for this matter, we are sending himlher a copy of this
      letter. If you have any questions regarding this letter and are represented by an attorney or
      other individual in this matter, you may wish to talk to your representative before contacting
      us.

SPECIAL PROJECTS. PO BOX 138868 • OKLAHOMA CITY, OK 73113                                                  SGLLCPNGHP
                                                                                                             Page 1 of 33




                                                 *4L2017017000008258*
                           Case 1:13-md-02419-RWZ Document 3583-6 Filed 06/11/22 Page 3 of 34
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    CMS
   CENTERS FOR MEDICARE & MEDICAID SERVICES
                                                                                                                          Coordination of
                                                                                                                     Benefits and Recovery




           This letter follows a previous letter notifying you/your attorney of Medicare's priority right of
           recovery as defined under the Medicare Secondary Payer provisions.                       Conditional Medicare
           payments for Medicare Part A and Part B Fee-for-Service claims have been made that we believe
           are related to your case for the Date of Incident listed above.                These conditional payments are
           subject to reimbursement to Medicare from proceeds you may receive pursuant to a settlement,
          judgment, award, or other payment.


           As of the date of this letter, and based upon the available information, Medicare has identified
           $267,678.04 in conditional payments that we believe are associated with your case.                  A listing of
           Part A and Part B Fee-for-Service claims that comprise this total is enclosed with this letter;
          please review this listing carefully and let us know as soon as possible if this list is incorrect or
          inaccurate.


          If you believe the enclosed itemization of conditional payments is incomplete, inaccurate, or that
          you are not responsible for repaying Medicare for these payments, please provide written
          documentation along with an explanation to support your dispute/rebuttal, to the address listed
          below.             Please include a description of the injury with your response.      The following is a list of
          documents (not all inclusive) that could assist in processing your dispute/rebuttal request:


                                   Statute of limitations submitted by the insurer
                                   Physicians statement or discharge summary
                                   Independent medical exams
                                   Medical records
                                   Written statement defining similar injuries or pre-existing conditions


          Please also be advised that we are still investigating this case file to obtain any other outstanding
          Medicare conditional payments; therefore, the enclosed listing of current conditional payments is
          not final. We request that you/your attorney refrain from sending any monies to Medicare prior
          to submission of settlement information and receipt of a demand/recovery calculation letter from
          our office. This will eliminate underpayments, overpayments, and/or associated delays. Once the
          case settles, please furnish our office with the information requested on the attached "Final
          Settlement Detail Document" .


          We have                   posted    this   conditional payment information under the    "MyMSP" tab      of the
          www . mymedicare . gov website . The information at www.mvmedicare. gov will be updated weekly
          with any changes or newly processed claims. If you wish, you may track the medical expenses
          that were paid by Medicare, and if you have an attorney or other representative, provide him/her
          with this information. This may help you with finalizing your settlement.




SPECIAL PROJECTS • PO BOX 138868 • OKLAHOMA CITY, OK 73113                                                          SGLLCPNGHP
                                                                                                                        Page 2 of 33
                           Case 1:13-md-02419-RWZ Document 3583-6 Filed 06/11/22 Page 4 of 34

    CMS                                                                                        COBR
                                                                                                        Coordination of
   CENTERS FOR MEDICARE & MEDICAID SERVICES                                                        Benefits and Recovery




           If you have any questions concerning this matter, please contact the Benefits Coordination &
           Recovery Center (BCRC) by phone at 1-855-798-2627 (TTY/TDD: 1-855-797-2627 for the
           hearing and speech impaired), in writing at the address below, or by fax to 405-869-3309. When
           sending correspondence, please include the Beneficiary Name along with the Medicare and Case
           Identification Numbers (shown above).



           Sincerely,




           BCRC


           CC: FIEGER, FIEGER, KENNEY, GIROUX & DANZIG, P.C.


          Enclosures:                         Final Settlement Detail Document
                                              Payment Summary Form




SPECIAL PROJECTS • PO BOX 138868 • OKLAHOMA CITY, OK 73113                                         SGLLCPNGHP
                                                                                                       Page 3 of 33




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                          Case 1:13-md-02419-RWZ Document 3583-6 Filed 06/11/22 Page 5 of 34

    CMS                                                                                             COBR  Coordination of
   CENTERS FORMEDICARE&MEOICA1D SERVICES                                                             Benefits and Recovery




          Final Settlement Detail Document

          Beneficiary Name:                MATTILA, MILDA E
          Medicare Number:                 384123594B
          Date of Incident:                June 01, 2012
          Case Identification Number:      20130 85090 00178


          Please supply the information outlined below to help Medicare to properly calculate the amount it
          is due. This information will also be used to update your records.


          Total Amount of the Settlement:

          Total Amount of Med-Pay or PIP:
                only ifpaid directly to the beneficiary
                or the beneficiary's representative

          Attorney Fee Amount Paid by the Beneficiary:

          Additional Procurement Expenses Paid by the Beneficiary:
               (Please submit an itemized listing of these expenses)

          Date the Case Was Settled:                                                            /

          Description of Injuries:

          Name of person who is providing this information:

          Relationship with the Beneficiary:


          This information should be submitted to:

                                                 SPECIAL PROJECTS
                                                 PO BOX 138868
                                                 OKLAHOMA CITY, OK 731 13


          If you have any questions concerning this matter, please contact the Benefits Coordination &
          Recovery Center (BCRC) by phone at 1-855-798-2627 (TTY/TDD:             1-855-797-2627 for the
          hearing and speech impaired), in writing at the address below, or by fax to 405-869-3309. When
          sending correspondence, please include the Beneficiary Name along with the Medicare and Case
          Identification Numbers (shown above).




SPECIAL PROJECTS • PO BOX 138868 • OKLAHOMA CITY, OK 73113                                           SGLLCPNGHP
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                                  CMS
                                 CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                        Benefits and Recovery




                                                                        Payment Summary Form
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Report Number:                              RMCAN - 5-5

Contractor:                                 SPECIAL PROJECTS                                                                                                              Date::          01/23/2017

                                                                                                                                                                          Time:             06:17:02

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Beneficiary Name:                           MATTILA, MILDA E                                                                          Case ID:                   20130 85090 00178

Beneficiary HICN:                           384123594B                                                                                Case Type:                 L - Liability

                                                                                                                                      Date of Incident:          06/01/2012


                                 Line       Processing                                        ICD         Diagnosis                                  Total        Reimburse Conditional                                                                                         oo
TOS             ICN                                                         Provider Name                               From Date    To Date                                                                                                                                    CM
                                  #         Contractor                                      Indicator       Codes                                   Charges         Amount                 Payment                                                                              g

                                                                                                                                                                                                                                                                                o
40    21231 00099 1 307WIA        0               00450              REGENCY AT CANTON      ICD-9       7291,7197,      09/23/2012   09/27/2012      $2,300.00        $1,004.98             $1,004.98                                                                           o

                                                                                                        72887                                                                                                                                                                   f-
                                                                                                                                                                                                                                                                                o
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 60   2 1 3 1 1 90 1 966707MIA    0               08201              ST JOSEPH MERCY        ICD-9       99939, 00845,   10/05/2012   12/27/2012    $559,479.15    $157,310.97             $157,310.97                                                                           o
                                                                                                                                                                                                                                                                                CM
                                                                     HOSPITAL                           0389, 1179,                                                                                                                                                            O
                                                                                                        2639, 2724,
                                                                                                        2752,2761,
                                                                                                        2768, 28419,
                                                                                                        29212, 3211,
                                                                                                        3241,34830,
                                                                                                        35981,496,
                                                                                                        51881,5849,
                                                                                                        5990, 6959,
                                                                                                        7812, 78552,
                                                                                                        7993, 99592,
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                               CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                Benefits and Recovery
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20   2131 29008225040HA              0               15201                HEARTLAND HEALTH   ICD-9   3229, V440,     04/12/2013   04/30/2013   $19,991.22     $14,087.33       $14,087.33
                                                                          CARE CENTER- ANN           00845, 25000,
                                                                          ARBOR                      2900, 3241,
                                                                                                     486, 53081,
                                                                                                     70724

20   213 1 5700847 1 04OH A          0               15201                HEARTLAND HEALTH   ICD-9   3229, V440,     05/01/2013   05/31/2013   $32,710.65     $18,633.40       $18,633.40
                                                                          CARE CENTER- ANN           00845, 25000,
                                                                          ARBOR                      2900, 3241,
                                                                                                     486, 53081,
                                                                                                     70724

40   21324602323307MIA                0              08201                ST JOSEPH MERCY    ICD-9   1179, E9320,    05/09/2013   05/09/2013       $15.00           $44.58         $15.00
                                                                          HOSPITAL                   3211,3241

20   2 1 3 1 90009 1 2404OHA          0              15201                HEARTLAND HEALTH   ICD-9   3229, V440,     06/01/2013   06/30/2013   $29,073.40     $17,891.96       $17,891.96
                                                                          CARE CENTER-ANN            00845, 25000,
                                                                          ARBOR                      2900, 3241,
                                                                                                     486, 53081,
                                                                                                     70724

20   21408500931 104OHA               0              15201                HEARTLAND HEALTH   ICD-9   3229, V440,     07/01/2013   07/27/2013   $22,909.79     $10,786.88       $10,786.88
                                                                          CARE CENTER-ANN            00845, 25000,
                                                                          ARBOR                      2900, 3241,
                                                                                                     486, 53081,
                                                                                                     70724

40   21323200875 604OH A              0              15201                HEARTLAND HEALTH   ICD-9   3229            07/22/2013   07/26/2013     $631.90          $403.75         $403.75
                                                                          CARE CENTER- ANN
                                                                          ARBOR

40   21416000010307MIA                0              08201                UNIVERSITY OF      ICD-9   3229            07/22/2013   07/22/2013     $145.00            $14.02         $14.02
     U                                                                    MICHIGAN HEALTH
                                                                          SYSTEM

40   2141 63008553040H A              0              15201                HEARTLAND HEALTH   ICD-9   3229            07/22/2013   07/26/2013      $631.90         $403.75         $403.75
                                                                          CARE CENTER- ANN
                                                                          ARBOR

40   21416000019807MIA                0              08201                UNIVERSITY OF      ICD-9   3229            07/24/2013   07/24/2013      $327.00           $51.97         $51.97
     U                                                                    MICHIGAN HEALTH
                                                                                                                                                                                                     Case 1:13-md-02419-RWZ Document 3583-6 Filed 06/11/22 Page 7 of 34




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                                CMS                                                                                                                          Coordination of
                               CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                 Benefits and Recovery




40   2 1 32280 1467907MI A            0              08201                UNIVERSITY OF       ICD-9   3229            07/27/2013   07/27/2013     $372.00            $18.30        $18.30
                                                                          MICHIGAN HEALTH
                                                                          SYSTEM                                                                                      1

60   2 1404508625 208MIA             0               08201                ST JOSEPH MERCY     ICD-9   78060, E8751,   07/28/2013   08/06/2013   $50,305.55       $3,447.84      $3,447.84
                                                                          HOSPITAL                    00845, 1 179,
                                                                                                      2630, 28860,
                                                                                                      3241,4019,
                                                                                                      51883,53081,
                                                                                                      70703, 70724,
                                                                                                      73313,99939

40   213283009235040HA               0               15201                HEARTLAND HEALTH    ICD-9   3229, 7197,     08/07/2013   08/09/2013     $708.98          $487.33       $487.33
                                                                          CARE CENTER-ANN             72887, 7813,
                                                                          ARBOR                       78440

40   21 328001 817007WIA             0               06001                SOUTH LYON SENIOR   ICD-9   481, V440,      09/01/2013   09/19/2013    $1,240.08         $603.02       $603.02
                                                                          CARE AND REHAB              3211,5990,
                                                                          CENTER, LLC                 78192, 78722

40   21328800762104MIA               0              08201                 ST JOSEPH MERCY     ICD-9   99939, 1179,    09/12/2013   09/12/2013     $242.00            $75.43        $75.43
                                                                          HOSPITAL                    3211,3241
                                                                                                                                                                                                                                                                          CO
                                                                                                                                                                                                                                                                          EO
40   213280018 17107WIA              0              06001                 SOUTH LYON SENIOR   ICD-9   3211, V440,     09/26/2013   09/30/2013     $805.05          $344.20       $344.20                                                                                  CM
                                                                                                                                                                                                                                                                          g
                                                                          CARE AND REHAB              481,5990,                                                                                                                                                           o

                                                                          CENTER, LLC                 78192, 78722                                                                                                                                                        o



40   2 1 33240 1 434407MIA           0              08201                 ST JOSEPH MERCY     ICD-9   99939, E8751,   11/11/2013   11/11/2013   $5,060.00          $345.41       $345.41                                                                                  o
                                                                                                                                                                                                                                                                          N.
                                                                          HOSPITAL                    1179, 3211                                                                                                                                                          5
                                                                                                                                                                                                                                                                          CM
                                                                                                                                                                                                                                                                          a.
40   2 1400900452207WIA              0               06001                SOUTH LYON SENIOR   ICD-9   V440, 3211,     12/02/2013   12/31/2013    $2,755.06      $1,248.31       $1,248.31
                                                                          CARE AND REHAB              53085,7197,
                                                                          CENTER, LLC                 78722

40   2133510191 2307MIA              0              08201                 ST JOSEPH MERCY     ICD-9   3241, E9320,    12/05/2013   12/05/2013      $15.00           $44.58        $15.00


40   2 1 4 1 6300 1 36604WIA         0              06001
                                                                          HOSPITAL

                                                                          SOUTH LYON SENIOR
                                                                          CARE AND REHAB
                                                                          CENTER, LLC
                                                                                              ICD-9
                                                                                                      1179, 3211

                                                                                                      V440, 3211,
                                                                                                      53085,7197,
                                                                                                      78722
                                                                                                                      01/02/2014   01/30/2014    $1,100.04         $616.20       $616.20
                                                                                                                                                                                             4P2017 825
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40   2 1402702649807MIA              0              08201                 UNIVERSITY OF       ICD-9   7862, V440,     01/17/2014   01/17/2014     $899.00          $183.82       $183.82
                                                                          MICHIGAN HEALTH             1179,3211
                                                                          SYSTEM



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                              CMS                                                                                                                          Coordination of
                             CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                Benefits and Recovery




40   2 1406605771 407WIA           0               06001                SOUTH LYON SENIOR   ICD-9   3211,7197       02/02/2014   02/28/2014   $1,760.04         $967.50       $967.50
                                                                        CARE AND REHAB
                                                                        CENTER, LLC
                                                                                                                                                                   1
40   2 1 409905260407WIA           0               06001                SOUTH LYON SENIOR   ICD-9   3211,7197       03/03/2014   03/03/2014      $80.02           $42.99        $42.99
                                                                        CARE AND REHAB
                                                                        CENTER, LLC

40   2 1 40840 1 660407MIA         0               08201                ST JOSEPH MERCY     ICD-9   99939, E8751,   03/20/2014   03/20/2014   $5,078.00         $309.07       $309.07
                                                                        HOSPITAL                    1179, 3211

60   21 535000906 1 04MIA          0               08201                ST JOSEPH MERCY     ICD-9   0389, VI 254,   06/08/2015   06/10/2015   $7,714.25     $12,249.93       $7,714.25
                                                                        HOSPITAL                    V4579, V4986,
                                                                                                    1120, 2859,
                                                                                                    29420,4019,
                                                                                                    53081,53085,
                                                                                                    59010, 70703,
                                                                                                    70724, 71690,
                                                                                                    78830, 99591

71   681912179884030             001               00953                SHALHOUB,           ICD-9   7213,30000,     06/21/2012   06/21/2012   $1,043.00         $501.10       $501.10
                                                                        ALEXANDER G                 72252, 7242

71   681912179884030             002              00953                 SHALHOUB,           ICD-9   7213, 30000,    06/21/2012   06/21/2012    $870.00          $417.34       $417.34
                                                                        ALEXANDER G                 72252, 7242

71   681912179884030             003              00953                 SHALHOUB,           ICD-9   7213, 30000,    06/21/2012   06/21/2012    $190.00           $20.58        $20.58
                                                                        ALEXANDER G                 72252, 7242

71   681912179884030             004              00953                 SHALHOUB,           ICD-9   7213, 30000,    06/21/2012   06/21/2012     $20.00             $0.46         $0.46
                                                                        ALEXANDER G                 72252, 7242

71   681912179884030             005               00953                SHALHOUB,           ICD-9   7213, 30000,    06/21/2012   06/21/2012       $8.00            $0.78         $0.78
                                                                        ALEXANDER G                 72252, 7242

71   681112272631720             001               99999                MEDICARE PROVIDER   ICD-9   78039, 34830,   09/20/2012   09/20/2012    $279.30          $138.88       $138.88
                                                                                                    7242, 7295

71   681112275765030             001               99999                MEDICARE PROVIDER   ICD-9   78039           09/21/2012   09/21/2012     $87.00           $45.12        $45.12

71   681112282682830             001               99999                MEDICARE PROVIDER   ICD-9   71945, 7242,    09/30/2012   09/30/2012     $26.00             $8.16         $8.16
                                                                                                    78650
                                                                                                                                                                                                  Case 1:13-md-02419-RWZ Document 3583-6 Filed 06/11/22 Page 9 of 34




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                        CMS                                                                                                              COBR      Coordination of
                       CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                               Benefits and Recovery




71   681112282682830       002               99999                MEDICARE PROVIDER   ICD-9   71945, 7242,   09/30/2012   09/30/2012     $36.00            $10.11      $10.11
                                                                                              78650
                                                                                                                                                             (

71   681112286262150       001               99999                MEDICARE PROVIDER   ICD-9   3211,7840      10/05/2012   10/05/2012    $323.00          $166.04      $166.04

71   681112292441680       001               99999                MEDICARE PROVIDER   ICD-9   3229           10/05/2012   10/05/2012   $1,051.00         $122.38      $122.38

71   681112292224240       001               99999                MEDICARE PROVIDER   ICD-9   3211,7840      10/06/2012   10/06/2012    $120.00            $58,79      $58.79

71   681112307560500       001               99999                MEDICARE PROVIDER   ICD-9   1179, 3211     10/06/2012   10/06/2012    $210.00          $164.38      $164.38

71   681112307560500       002               99999                MEDICARE PROVIDER   ICD-9   1179, 3211     10/09/2012   10/09/2012     $92.00            $58.21      $58.21

71   681112292224230       001               99999                MEDICARE PROVIDER   ICD-9   3211,7840      10/07/2012   10/07/2012    $120.00            $58.79      $58.79

71   681112292224250       001               99999                MEDICARE PROVIDER   ICD-9   3211, 7840     10/08/2012   10/08/2012    $120.00            $58.79      $58.79

71   681813239133620       001               08202                LILES, SCOTT A      ICD-9   3211,7840      10/09/2012   10/09/2012    $120.00            $58.79      $58.79

71   681812318506900        001              99999                MEDICARE PROVIDER   ICD-9   3211,2761,     10/10/2012   10/10/2012    $120.00            $58.79      $58.79
                                                                                              7840

71   681112313721160        001              99999                MEDICARE PROVIDER   ICD-9   1179           10/11/2012   10/11/2012    $140.00            $84.42      $84.42

71   681112313721160        002              99999                MEDICARE PROVIDER   ICD-9   1179           10/12/2012   10/12/2012    $140.00            $84.42      $84.42                                                                                  co
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71   681112313721160        003              99999                MEDICARE PROVIDER   ICD-9   1179           10/15/2012   10/15/2012    $140.00            $84.42      $84.42
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71   681112313721160        004              99999                MEDICARE PROVIDER   ICD-9   1179           10/16/2012   10/16/2012    $100.00            $58.79      $58.79
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71   681112313721160        005              99999                MEDICARE PROVIDER   ICD-9   1179           10/17/2012   10/17/2012    $140.00            $84.42      $84.42                                                                                  r-~

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                                                                                                                                                                                                                                                               CM
71   681112313721160        006              99999                MEDICARE PROVIDER   ICD-9   1179           10/18/2012   10/18/2012    $140.00            $84.42      $84.42                                                                                  O

71   681112313721160        007              99999                MEDICARE PROVIDER   ICD-9   1179           10/19/2012   10/19/2012    $140.00            $84.42      $84.42

71   681112313721160        008              99999                MEDICARE PROVIDER   ICD-9   1179           10/20/2012   10/20/2012    $140.00            $84.42      $84.42

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                                                                                              7840, 7904
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71   681112311255180        001              99999                MEDICARE PROVIDER   ICD-9   7905, 1179     10/12/2012   10/12/2012    $311.00          $141.14      $141.14




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                        CMS                                                                                                            CO B R    Coordination of
                       CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                             Benefits and Recovery




71   681812318506890       001               99999                MEDICARE PROVIDER   ICD-9   3211,2761,     10/12/2012   10/12/2012   $120.00           $58.79      $58.79
                                                                                              7840, 7904
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71   681812318506910       001               99999                MEDICARE PROVIDER   ICD-9   3211,2761,     10/13/2012   10/13/2012   $120.00           $58.79      $58.79
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                                                                                              7840, 7904

71   681812318506940       001               99999                MEDICARE PROVIDER   ICD-9   3211,2761,     10/14/2012   10/14/2012   $120.00           $58.79      $58.79
                                                                                              7840, 7904

71   681812318506930       001               99999                MEDICARE PROVIDER   ICD-9   3211,2761,     10/15/2012   10/15/2012   $120.00           $58.79      $58.79
                                                                                              7840, 7904

71   681812318506860       001               99999                MEDICARE PROVIDER   ICD-9   3211,2761,     10/16/2012   10/16/2012   $120.00           $58.79      $58.79
                                                                                              7840, 7904

71   681812318506920       001               99999                MEDICARE PROVIDER   ICD-9   3211,2761,     10/17/2012   10/17/2012   $120.00           $58.79      $58.79
                                                                                              7840, 7904

71   681812318506950       001               99999                MEDICARE PROVIDER   ICD-9   3211,2761,     10/18/2012   10/18/2012   $120.00           $58.79      $58.79
                                                                                              7840, 7904

71   681112305232040       001               99999                MEDICARE PROVIDER   ICD-9   34830, 3229    10/19/2012   10/19/2012   $323.00         $166.04      $166.04

71   681112305232040       002               99999                MEDICARE PROVIDER   ICD-9   34830, 3229    10/21/2012   10/21/2012   $120.00           $58.79      $58.79

71   681112305232040        003              99999                MEDICARE PROVIDER   ICD-9   34830, 3229    10/21/2012   10/21/2012    $67.00            $0.00       $0.00

71   681812318506880        001              99999                MEDICARE PROVIDER   ICD-9   3211,2761,     10/19/2012   10/19/2012   $120.00           $58.79      $58.79
                                                                                              7840, 7904

71   681112310179510        001              99999                MEDICARE PROVIDER   ICD-9   3211,2761,     10/20/2012   10/20/2012   $169.00           $84.42      $84.42
                                                                                              7840, 7904

71   681112307191470        001              99999                MEDICARE PROVIDER   ICD-9   34830, 3211,   10/21/2012   10/21/2012   $169.00           $84.42      $84.42
                                                                                              7840, 7904

71   681112307191510        001              99999                MEDICARE PROVIDER   ICD-9   34830, 3211,   10/22/2012   10/22/2012   $169.00           $84.42      $84.42
                                                                                              7840, 7904

71   681112307191490        001              99999                MEDICARE PROVIDER   ICD-9   34830, 3211,   10/23/2012   10/23/2012   $169.00           $84.42      $84.42
                                                                                              7840, 7904

71   681812307059060        001              99999                MEDICARE PROVIDER   ICD-9   1179, 3211,    10/23/2012   10/23/2012   $372.46         $184.93      $184.93
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                        CMS                                                                                                                        Coordination of
                       CfNTERS FOR MEDICARE & MEDICAID SERVICES                                                                              Benefits and Recovery




71   681812307059050       001               99999                MEDICARE PROVIDER   ICD-9   1179, 3211,    10/24/2012    10/24/2012   $372.46         $184.93      $184.93
                                                                                              34830
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71   681812307059050       002               99999                MEDICARE PROVIDER   ICD-9   1179, 3211,    10/25/2012    10/25/2012   $372.46         $184.93      $184.93
                                                                                              34830

71   681112306629480       001               99999                MEDICARE PROVIDER   ICD-9   34830, 3211,   10/24/2012    10/24/2012   $332.18         $166.04      $166.04
                                                                                              33183

71   681112306629480       002               99999                MEDICARE PROVIDER   ICD-9   34830, 3211,   10/26/2012    10/26/2012   $117.62           $58.79      $58.79
                                                                                              33183

71   681112313721170       001              99999                 MEDICARE PROVIDER   ICD-9   1179           10/24/2012    10/24/2012   $140.00          $84.42       $84.42

71   681112313721170       002'             99999                 MEDICARE PROVIDER   ICD-9   1179           10/25/2012    10/25/2012   $140.00          $84.42       $84.42

71   681112313721170       003              99999                 MEDICARE PROVIDER   ICD-9   1179           10/27/2012    10/27/2012   $140.00           $84.42      $84.42

71   681112307191530       001               99999                MEDICARE PROVIDER   ICD-9   3211,7840,     10/26/2012    10/26/2012   $120.00           $58.79      $58.79
                                                                                              7904

71   681812313433400       001               99999                MEDICARE PROVIDER   ICD-9   7840,2761,     10/27/2012    10/27/2012   $169.00          $84.42       $84.42
                                                                                              3229, 78093
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71   681812313433390       001              99999                 MEDICARE PROVIDER   ICD-9   3229, 2931,    10/28/2012    10/28/2012   $120.00          $58.79                                                                                              LO
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     681112320078280       001              99999                 MEDICARE PROVIDER   ICD-9   1179           10/29/2012    10/29/2012   $140.00          $84.42       $84.42

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71   681112320078280       002              99999                 MEDICARE PROVIDER   ICD-9   1179           10/30/2012    10/30/2012   $140.00          $84.42       $84.42                                                                                 !•>-
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71   681112320078280       003              99999                 MEDICARE PROVIDER   ICD-9   1179           11/01/2012    11/01/2012   $100.00          $58.79       $58.79                                                                                 en


71   681112320078280       004              99999                 MEDICARE PROVIDER   ICD-9   1179           11/02/2012    11/02/2012   $100.00          $58.79      $58.79

71   681112320078280       005              99999                 MEDICARE PROVIDER   ICD-9   1179           11/05/2012    11/05/2012   $140.00          $84.42      $84.42

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                       CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                             Benefits and Recovery




71   681812313433410       001               99999                MEDICARE PROVIDER   ICD-9   3229, 262,    10/31/2012   10/31/2012    $120.00           $58.79     $58.79
                                                                                              33183,4011

71   681812318506840       001               99999                MEDICARE PROVIDER   ICD-9   3229, 262,    11/01/2012   11/01/2012    $120.00           $^8.79     $58.79
                                                                                              72887, 7812

71   681812318506850       001               99999                MEDICARE PROVIDER   ICD-9   3229, 262,    11/02/2012   11/02/2012    $169.00           $84.42     $84.42
                                                                                              72887, 7812

71   681112332473060       001               99999                MEDICARE PROVIDER   ICD-9   72887, 262,   11/03/2012   11/03/2012     $92.00           $58.86     $58.86
                                                                                              3229, 7812

71   681112332473090       001               99999                MEDICARE PROVIDER   ICD-9   72887, 262,   11/04/2012   11/04/2012     $92.00           $58.86     $58.86
                                                                                              3229, 7812

71   681112332473080       001               99999                MEDICARE PROVIDER   ICD-9   72887, 262,   11/05/2012   11/05/2012    $169.00           $84.42     $84.42
                                                                                              3229, 7812

71   681112319639510       001               99999                MEDICARE PROVIDER   ICD-9   1179          11/06/2012   11/06/2012    $175.00           $84.33     $84.33

71   681812317007200       001               99999                MEDICARE PROVIDER   ICD-9   7242, 7937    11/06/2012   1 1/06/2012   $339.00           $98.38     $98.38

71   681112332473100        001              99999                MEDICARE PROVIDER   ICD-9   72887, 262,   11/06/2012   11/06/2012    $120.00           $58.79     $58.79
                                                                                              3229, 7812

71   681812314429170        001              99999                MEDICARE PROVIDER   ICD-9   3229          11/07/2012   11/07/2012     $89.00           $32.26     $32.26

71   681112334102060        001              99999                MEDICARE PROVIDER   ICD-9   72887, 262,   11/07/2012   11/07/2012    $120.00           $58.79     $58.79
                                                                                              3229, 7812

71   681112331106460        001,             99999                MEDICARE PROVIDER   ICD-9   1179          11/08/2012   11/08/2012    $140.00           $84.42     $84.42

71   681112334102050        001              99999                MEDICARE PROVIDER   ICD-9   72887, 262,   11/08/2012   11/08/2012    $120.00           $58.79     $58.79
                                                                                              3229, 7812

71   681112332473070        001              99999                MEDICARE PROVIDER   ICD-9   3249, 3211,   11/09/2012   11/09/2012    $120.00           $58.79     $58.79
                                                                                              7830

71   681112355099750        001              99999                MEDICARE PROVIDER   ICD-9   3211,2639,    11/10/2012   11/10/2012    $169.00           $84.42     $84.42
                                                                                              3249, 7830

71   681112355099690        001              99999                MEDICARE PROVIDER   ICD-9   3211,2639,    11/11/2012   11/11/2012    $169.00           $84.42     $84.42
                                                                                              3249, 7830
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71   681112320606790        001              99999                MEDICARE PROVIDER   ICD-9   7242          11/12/2012   11/12/2012     $36.00           $10.11     $10.11




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                       CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                Benefits and Recovery




71   681812326573080       001               99999                MEDICARE PROVIDER    ICD-9   3229          11/12/2012    11/12/2012   $7,300.00       $1,002.97      $1,002.97

71   681812338111450       003               99999                MEDICARE PROVIDER    ICD-9   3241          11/12/2012    11/12/2012       $0.00            $0.00         $0.00

71   681812338111450       004               99999                MEDICARE PROVIDER    ICD-9   3241          11/12/2012    11/12/2012       $0.00            $0.00         $0.00

71   681112355099700       001               99999                MEDICARE PROVIDER    ICD-9   3249, 2639,   11/12/2012    11/12/2012    $120.00            $58.79       $58.79
                                                                                               3211,7830

71   681113007046860       001               99999                MEDICARE PROVIDER    ICD-9   3229          11/12/2012    11/12/2012   $7,300.00         $136.40       $136.40

71   681913107089340       001               08202                VALENSTEIN, PAUL N   ICD-9   3241          11/12/2012    11/12/2012    $120.00             $9.12         $9.12

71   681913107089340       002               08202                VALENSTEIN, PAUL N   ICD-9   3241          11/12/2012    11/12/2012     $38.50             $9.96         $9.96

71   681913107089340       003               08202                VALENSTEIN, PAUL N   ICD-9   3241          1 1/12/2012   11/12/2012    $108.50            $21.37       $21.37

71   681112355099710       001               99999                MEDICARE PROVIDER    ICD-9   3249, 2639,   11/13/2012    11/13/2012    $120.00            $58.79       $58.79
                                                                                               3211,7830

71   681112355099720       001               99999                MEDICARE PROVIDER    ICD-9   3249, 2639,   11/14/2012    11/14/2012    $120.00            $58.79       $58.79
                                                                                               3211,7830

71   681812333304090       001               99999                MEDICARE PROVIDER    ICD-9   1179          11/15/2012    11/15/2012    $140.00            $84.42       $84.42
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71   681812333304090       002               99999                MEDICARE PROVIDER    ICD-9   1179          11/16/2012    11/16/2012    $140.00            $84.42       $84.42                                                                                  <M
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71   681112355099740       001               99999                MEDICARE PROVIDER    ICD-9   3249, 2639,   11/15/2012    11/15/2012    $169.00            $84.42       $84.42
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71   681112355099730       001               99999                MEDICARE PROVIDER    ICD-9   3249, 2639,   11/16/2012    11/16/2012    $169.00            $84.42       $84.42
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71   681112340172560       001               99999                MEDICARE PROVIDER    ICD-9   3249, 3211,   11/17/2012    11/17/2012    $120.00            $58.79       $58.79
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71   681112340172500       001               99999                MEDICARE PROVIDER    ICD-9   3249, 3211,   11/18/2012    11/18/2012    $120.00            $58.79       $58.79



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71   681112348236600       002
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                                             99999                MEDICARE PROVIDER    ICD-9   1179          11/20/2012    11/20/2012    $140.00            $84.42       $84.42

71   681112348236600       003               99999                MEDICARE PROVIDER    ICD-9   1179          11/21/2012    11/21/2012    $140.00            $84.42       $84.42


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                           CENTERS TOR MEDICARE & MEOICAID SERVICES                                                                              Benefits and Recovery




.   71   681112348236600       004               99999                MEDICARE PROVIDER   ICD-9   1179          11/25/2012    11/25/2012    $140.00           $84.42     $84.42

    71   681112348236600       005               99999                MEDICARE PROVIDER   ICD-9   1179          11/26/2012    11/26/2012    $140.00           $84.42     $84.42
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    71   681112348236600       006               99999                MEDICARE PROVIDER   ICD-9   1179          1 1/27/2012   1 1/27/2012   $140.00           $84.42     $84.42

    71   681112348236600       007               99999                MEDICARE PROVIDER   ICD-9   1179          11/28/2012    11/28/2012    $140.00           $84.42     $84.42

    71   681112338336330       001               99999                MEDICARE PROVIDER   ICD-9   99939         11/20/2012    11/20/2012     $30.00              $7.18    $7.18

    71   681112340172520       001               99999                MEDICARE PROVIDER   ICD-9   3249, 3211,   11/20/2012    11/20/2012    $120.00           $58.79     $58.79
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    71   681112340172480       001               99999                MEDICARE PROVIDER   ICD-9   3249, 3211,   11/21/2012    11/21/2012    $120.00           $58.79     $58.79
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    71   681112340172540       001               99999                MEDICARE PROVIDER   ICD-9   3249, 3211,   11/22/2012    11/22/2012    $120.00           $58.79     $58.79
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    71   681112340172600       001               99999                MEDICARE PROVIDER   ICD-9   3249, 3211,   11/23/2012    11/23/2012    $120.00           $58.79     $58.79
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    71   681112340172380       001               99999                MEDICARE PROVIDER   ICD-9   3249, 3211,   11/24/2012    11/24/2012    $120.00           $58.79     $58.79
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    71   681112340172420       001               99999                MEDICARE PROVIDER   ICD-9   3249, 3211,   11/25/2012    11/25/2012    $120.00           $58.79     $58.79
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    71   681112340172440       001               99999                MEDICARE PROVIDER   ICD-9   3249, 3211,   11/26/2012    11/26/2012    $120.00           $58.79     $58.79
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    71   681112340172460        001              99999                MEDICARE PROVIDER   ICD-9   3249, 3211,   11/27/2012    11/27/2012    $120.00           $58.79     $58.79
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    71   681112340172400        001              99999                MEDICARE PROVIDER   ICD-9   3249, 3211,   11/28/2012    1 1/28/2012   $120.00           $58.79     $58.79
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    71   681812340345880        001              99999                MEDICARE PROVIDER   ICD-9   3249, 3211,   11/29/2012    11/29/2012    $120.00           $58.79     $58.79
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    71   681112353256890        001              99999                MEDICARE PROVIDER   ICD-9   1179          11/30/2012    11/30/2012    $140.00           $84.42     $84.42

    71   681112353256890        002              99999                MEDICARE PROVIDER   ICD-9   1179          12/03/2012    12/03/2012    $140.00           $84.42     $84.42
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    71   681112353256890        003              99999                MEDICARE PROVIDER   ICD-9   1179          12/04/2012    12/04/2012    $140.00           $84.42     $84.42




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                        CMS                                                                                                                       Coordination of
                       CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                             Benefits and Recovery




71   681112353256890       004               99999                MEDICARE PROVIDER   ICD-9   1179           12/05/2012   12/05/2012   $140.00           $84.42      $84.42

71   681812340345890       001               99999                MEDICARE PROVIDER   ICD-9   3249, 3211,    11/30/2012   11/30/2012   $120.00           $58.79      $58.79
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71   681112349098180       001               99999                MEDICARE PROVIDER   ICD-9   3249, 3211,    12/01/2012   12/01/2012   $120.00           $58.79      $58.79
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71   681112349098190       001              99999                 MEDICARE PROVIDER   ICD-9   3249, 3211,    12/02/2012   12/02/2012   $120.00           $58.79      $58.79
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71   681112349098170       001              99999                 MEDICARE PROVIDER   ICD-9   3249, 3211,    12/03/2012   12/03/2012   $169.00           $84.42      $84.42
                                                                                              67020, 7830

71   681913009357050       001               99999                MEDICARE PROVIDER   ICD-9   00845, 1179,   12/03/2012   12/03/2012   $372.46         $184.93      $184.93
                                                                                              3211,99591

71   681812362543890       001               99999                MEDICARE PROVIDER   ICD-9   00845, 1179,   12/04/2012   12/04/2012   $372.46         $184.93      $184.93
                                                                                              3211,99591

71   681812362543890       002              99999                 MEDICARE PROVIDER   ICD-9   00845, 1179,   12/04/2012   12/04/2012   $187.52           $92.96      $92.96
                                                                                              3211,99591

71   681812362543890       003              99999                 MEDICARE PROVIDER   ICD-9   00845, 1179,   12/05/2012   12/05/2012   $372.46         $184.93      $184.93                                                                                 CO
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71   681812362543890       004              99999                 MEDICARE PROVIDER   ICD-9   00845, 1179,   12/05/2012   12/05/2012   $187.52           $92.96      $92.96
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71   681812362543890       005              99999                 MEDICARE PROVIDER   ICD-9   00845, 1179,   12/06/2012   12/06/2012   $372.46         $184.93      $184.93
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71   681812362543890       006              99999                 MEDICARE PROVIDER   ICD-9   00845, 1179,   12/07/2012   12/07/2012   $372.46         $184.93      $184.93
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71   681812362543890       007              99999                 MEDICARE PROVIDER   ICD-9   00845, 1179,   12/07/2012   12/07/2012   $187.52          $92.96       $92.96



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                         CMS                                                                                                                        Coordination of
                        CENTERS FOR MEDICARE ft MEDICAID SERVICES                                                                              Benefits and Recovery




71    681812362543890        010              99999                 MEDICARE PROVIDER   ICD-9   00845, 1 179,   12/09/2012   12/09/2012   $372.46         $184.93       $184.93
                                                                                                3211,99591

71    681812362543890        011              99999                 MEDICARE PROVIDER   ICD-9   00845, 1 179,   12/09/2012   12/09/2012   $187.52           $92.96       $92.96
                                                                                                3211,99591

71    681112362259130        001              99999                 MEDICARE PROVIDER   ICD-9   1179            12/06/2012   12/06/2012   $140.00           $84.42       $84.42

71    681112362259130        002              99999                 MEDICARE PROVIDER   ICD-9   1179            12/07/2012   12/07/2012   $140.00           $84.42       $84.42

71    681112362259130        003              99999                 MEDICARE PROVIDER   ICD-9   1179            12/09/2012   12/09/2012   $140.00           $84.42       $84.42

.71   681112362259130        004              99999                 MEDICARE PROVIDER   ICD-9   1179            12/11/2012   12/11/2012   $146.00           $84.42       $84.42

71    681112362259130        005              99999                 MEDICARE PROVIDER   ICD-9   1179            12/12/2012   12/12/2012   $140.00           $84.42       $84.42

71    681812362543870        001              99999                 MEDICARE PROVIDER   ICD-9   00845, 1179,    12/06/2012   12/06/2012    $88.35           $44.18       $44.18
                                                                                                3211,99591

71    681913108054800        001              08202                 KIERS, GERARD P     ICD-9   99939, 3211,    12/06/2012   12/06/2012   $509.00           $96.87       $96.87
                                                                                                78552, 99592

71    681112362265720        001               99999                MEDICARE PROVIDER   ICD-9   79431,99939     12/08/2012   12/08/2012    $30.00               $7.18     $7.18

71    681112362265720        002               99999                MEDICARE PROVIDER   ICD-9   79431,99939     12/08/2012   12/08/2012    $30.00               $7.18     $7.18

71    681812362543880        001               99999                MEDICARE PROVIDER   ICD-9   00845, 1179,    12/10/2012   12/10/2012   $372.46         $184.93       $184.93
                                                                                                3211,99591

71    681812362543880        002               99999                MEDICARE PROVIDER   ICD-9   00845, 1179,    12/11/2012   12/11/2012   $372.46         $184.93       $184.93
                                                                                                3211,99591

71    681812362543880        003               99999                MEDICARE PROVIDER   ICD-9   00845, 1 179,   12/12/2012   12/12/2012   $372.46         $184.93       $184.93
                                                                                                3211,99591

71    681812362543880        004               99999                MEDICARE PROVIDER   ICD-9   00845, 1179,    12/13/2012   12/13/2012   $372.46         $184.93       $184.93
                                                                                                3211,99591

71    681812362543880        005               99999                MEDICARE PROVIDER   ICD-9   00845, 1179,    12/14/2012   12/14/2012   $372.46         $184.93       $184.93
                                                                                                3211,99591

71    681812362543880        006               99999                MEDICARE PROVIDER   ICD-9   00845, 1179,    12/15/2012   12/15/2012   $372.46         $184.93       $184.93
                                                                                                3211,99591
                                                                                                                                                                                           Case 1:13-md-02419-RWZ Document 3583-6 Filed 06/11/22 Page 17 of 34




71    681812362543880        007               99999                MEDICARE PROVIDER   ICD-9   00845, 1179,    12/16/2012   12/16/2012   $372.46         $184.93       $184.93
                                                                                                3211,99591



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                       CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                              Benefits and Recovery




71   681112363204490       001               99999                MEDICARE PROVIDER   ICD-9   1179            12/14/2012   12/14/2012   $140.00           $84.42      $84.42

71   681112363204490       002               99999                MEDICARE PROVIDER   ICD-9   1179            12/17/2012   12/17/2012   $140.00           $?4.42      $84.42

71   681112363204490       003               99999                MEDICARE PROVIDER   ICD-9   1179            12/18/2012   12/18/2012   $140.00           $84.42      $84.42

71   681812366296370       001               99999                MEDICARE PROVIDER   ICD-9   1 179, 00845,   12/17/2012   12/17/2012   $372.46         $184.93      $184.93
                                                                                              3211,34830

71   681812366296370       002               99999                MEDICARE PROVIDER   ICD-9   1179, 00845,    12/18/2012   12/18/2012   $372.46         $184.93      $184.93
                                                                                              3211,34830

71   681812366296370       003               99999                MEDICARE PROVIDER   ICD-9   1 179, 00845,   12/19/2012   12/19/2012   $372.46         $184.93      $184.93
                                                                                              3211,34830

71   681812366296370       004               99999                MEDICARE PROVIDER   ICD-9   1179, 00845,    12/20/2012   12/20/2012   $372.46         $184.93      $184.93
                                                                                              3211,34830

71   681112362265290       001               99999                MEDICARE PROVIDER   ICD-9   99939           12/18/2012   12/18/2012    $30.00            $7.18       $7.18

71   681113003166340       001               99999                MEDICARE PROVIDER   ICD-9   1179, 3249      12/19/2012   12/19/2012   $140.00           $84.42      $84.42

71   681113003166340       002               99999                MEDICARE PROVIDER   ICD-9   1179, 3249      12/21/2012   12/21/2012   $140.00           $84.42      $84.42

71   681113003166340        003              99999                MEDICARE PROVIDER   ICD-9   1179, 3249      12/26/2012   12/26/2012   $140.00           $84.42      $84.42                                                                                  LT

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71   681113003166340        004              99999                MEDICARE PROVIDER   ICD-9   1179, 3249      12/28/2012   12/28/2012   $140.00           $84.42      $84.42                                                                                  c

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71   681813021150970        001              99999                MEDICARE PROVIDER   ICD-9   99939           12/19/2012   12/19/2012    $30.00             $7.18      $7.18                                                                                  Is-


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71   681112362778670        001              99999                MEDICARE PROVIDER   ICD-9   78039           12/19/2012   12/19/2012    $87.00           $45.12      $45.12
                                                                                                                                                                                                                                                              £
71   681112362258020        001              99999                MEDICARE PROVIDER   ICD-9   2639, 3249.     12/19/2012   12/19/2012   $311.00         $141.14      $141.14                                                                                  3
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71   681112362258790        001              99999                MEDICARE PROVIDER   ICD-9   2639, 3249      12/20/2012   12/20/2012    $61.00           $32.26      $32.26

                            001              99999                MEDICARE PROVIDER   ICD-9   51881,00845,    12/21/2012   12/21/2012   $169.00           $84.42      $84.42
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     681813016208370



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71   681113003174640        001              99999                MEDICARE PROVIDER   ICD-9   99939           12/22/2012   12/22/2012    $30.00             $7.18      $7.18




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                       CENTERS FOR MEDICARE & MEDICAID SERVICES
                                                                                                                                             Benefits and Recovery




71   681813016208340       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,    12/23/2012   12/23/2012   $169.00           $84.42      $84.42
                                                                                              2639, 3211
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71   681813016208360       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,    12/24/2012   12/24/2012   $169.00           $84.42      $84.42
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                                                                                              2639, 3211

71   681113004122160       001               99999                MEDICARE PROVIDER   ICD-9   99939           12/24/2012   12/24/2012    $30.00              $7.18     $7.18

71   681813016208350       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,    12/25/2012   12/25/2012   $169.00           $84.42      $84.42
                                                                                              2639, 3211

71   681113004121150       001               99999                MEDICARE PROVIDER   ICD-9   99939           12/25/2012   12/25/2012    $30.00              $7.18     $7.18

71   681813016208380       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,    12/26/2012   12/26/2012   $169.00           $84.42      $84.42
                                                                                              2639, 3211

71   681113007168080       001              99999                 MEDICARE PROVIDER   ICD-9   99939           12/26/2012   12/26/2012    $30.00              $7.18     $7.18

71   681113004255070       001              99999                 MEDICARE PROVIDER   ICD-9   34830, 2859,    12/27/2012   12/27/2012   $221.00         $113.58      $113.58
                                                                                              3211,78720

71   681113007171720       001              99999                 MEDICARE PROVIDER   ICD-9   99939           12/27/2012   12/27/2012    $30.00              $7.18     $7.18

71   681813016208390       001              99999                 MEDICARE PROVIDER   ICD-9   78060, 3211,    12/28/2012   12/28/2012   $169.00          $84.42       $84.42
                                                                                              34830, 78720

71   681813011518800       001              99999                 MEDICARE PROVIDER   ICD-9   51881, V4611,   12/28/2012   12/28/2012   $332.18         $139.73      $139.73
                                                                                              1179, 3211

71   681813016208330       001              99999                 MEDICARE PROVIDER   ICD-9   34830, 2859,    12/29/2012   12/29/2012   $120.00          $58.79       $58.79
                                                                                              3211,78720

71   681813023071910       001              99999                 MEDICARE PROVIDER   ICD-9   1179, 3249      12/30/2012   12/30/2012   $140.00          $84.42       $84.42

71   681813016208270       001              99999                 MEDICARE PROVIDER   ICD-9   51881,3211,     12/30/2012   12/30/2012   $120.00          $58.79       $58.79
                                                                                              34830, 78720

71   681813016208320       001              99999                 MEDICARE PROVIDER   ICD-9   51881,3211,     12/31/2012   12/31/2012   $169.00          $84.42       $84.42
                                                                                              34830, 78720

71   681813016208260       001              99999                 MEDICARE PROVIDER   ICD-9   3211,2859,      01/01/2013   01/01/2013   $124.00          $59.05       $59.05
                                                                                              34830, 78720

71   681813016208240       001              99999                 MEDICARE PROVIDER   ICD-9   3211,2859,      01/02/2013   01/02/2013   $124.00          $50.49      $50.49
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                           CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                              Benefits and Recovery




    71   681813016208250       001               99999                MEDICARE PROVIDER   ICD-9   3211,2859,      01/03/2013   01/03/2013   $124.00           $59.05     $59.05
                                                                                                  34830, 78720

    71   681813016208280       001               99999                MEDICARE PROVIDER   ICD-9   3211,2859,      01/04/2013   01/04/2013   $124.00           $59.05     $59.05
                                                                                                  34830, 78720

    71   681813016208310       001               99999                MEDICARE PROVIDER   ICD-9   34830, 2859,    01/05/2013   01/05/2013   $124.00           $59.05     $59.05
                                                                                                  3211,78720

    71   681813028153770       001               99999                MEDICARE PROVIDER   ICD-9   34830, 2859,    01/06/2013   01/06/2013   $124.00           $59.05     $59.05
                                                                                                  3211,78720

    71   681913028444870       001               99999                MEDICARE PROVIDER   ICD-9   34830, 2859,    01/07/2013   01/07/2013   $124.00           $59.05     $59.05
                                                                                                  3211,78720

    71   681813023464600       001               99999                MEDICARE PROVIDER   ICD-9   51881, V4611,   01/08/2013   01/08/2013   $169.15           $72.44     $72.44
                                                                                                  1179, 3211

'   71   681813023464600       002               99999                MEDICARE PROVIDER   ICD-9   51881, V4611,   01/10/2013   01/10/2013   $117.62           $50.19     $50.19
                                                                                                  1179, 3211

    71   681813028153730       001               99999                MEDICARE PROVIDER   ICD-9   34830, 2859,    01/08/2013   01/08/2013   $124.00           $59.05     $59.05
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    71   681813028153760       001               99999                MEDICARE PROVIDER   ICD-9   34830, 2859,    01/09/2013   01/09/2013   $175.00           $85.22     $85.22                                                                                 cm
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    71   681813028153750       001               99999                MEDICARE PROVIDER   ICD-9   34830, 2859,    01/10/2013   01/10/2013   $124.00           $59.05     $59.05
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    71   681813028153740       001               99999                MEDICARE PROVIDER   ICD-9   34830, 2859,    01/11/2013   01/11/2013   $124.00           $59.05     $59.05                                                                                 CM
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    71   681913035416100       001               99999                MEDICARE PROVIDER   ICD-9   51881,3211,     01/12/2013   01/12/2013   $175.00           $85.22     $85.22
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                       CENTERS FOR MEDICARE & MEDICAID SERVOS                                                                             Benefits and Recovery




71   681913035416090       001              99999               MEDICARE PROVIDER   ICD-9   51881,3211,    01/14/2013   01/14/2013   $175.00           $85.22     $85.22
                                                                                            34830, 78720
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71   681913035416040       001              99999               MEDICARE PROVIDER   ICD-9   51881,3211,    01/15/2013   01/15/2013   $175.00           $85.22     $85.22
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                                                                                            34830, 78720

71   681913035416050       001              99999               MEDICARE PROVIDER   ICD-9   51881,3211,    01/16/2013   01/16/2013   $175.00           $85.22     $85.22
                                                                                            34830, 78720

71   681913035416080       001              99999               MEDICARE PROVIDER   ICD-9   51881,3211,    01/17/2013   01/17/2013   $175.00           $85.22     $85.22
                                                                                            34830, 78720

71   681913035416070       001              99999               MEDICARE PROVIDER   ICD-9   51881,3211,    01/18/2013   01/18/2013   $175.00           $85.22     $85.22
                                                                                            34830, 78720

71   681913028444860       001              99999               MEDICARE PROVIDER   ICD-9   51881,3211,    01/19/2013   01/19/2013   $175.00           $85.22     $85.22
                                                                                            34830, 78720

71   681813028153720       001              99999               MEDICARE PROVIDER   ICD-9   51881,3211,    01/20/2013   01/20/2013   $175.00           $85.22     $85.22
                                                                                            34830, 78720

71   681913028444850       001              99999               MEDICARE PROVIDER   ICD-9   51881,3211,    01/21/2013   01/21/2013   $175.00           $85.22     $85.22
                                                                                            34830, 78720

71   681913044357330       001              99999               MEDICARE PROVIDER   ICD-9   34830, V667,   01/22/2013   01/22/2013   $124.00           $59.05     $59.05
                                                                                            72887, 78605

71   681813031259060       001              99999               MEDICARE PROVIDER   ICD-9   51881,3211,    01/22/2013   01/22/2013   $175.00           $85.22     $85.22
                                                                                            34830, 78720

71   681813031259030       001              99999               MEDICARE PROVIDER   ICD-9   51881,3211,    01/23/2013   01/23/2013   $175.00           $85.22     $85.22
                                                                                            34830, 78720

71   681813031259040       001              99999               MEDICARE PROVIDER   ICD-9   51881,3211,    01/24/2013   01/24/2013   $175.00           $85.22     $85.22
                                                                                            34830, 78720

71   681813031259020       001              99999               MEDICARE PROVIDER   ICD-9   51881,3211,    01/25/2013   01/25/2013   $175.00           $85.22     $85.22
                                                                                            34830, 78720

71   681813043385490       001              99999               MEDICARE PROVIDER   ICD-9   51881,3211,    01/26/2013   01/26/2013   $124.00           $59.05     $59.05
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71   681813043385460       001              99999               MEDICARE PROVIDER   ICD-9   51881,3211,    01/27/2013   01/27/2013   $124.00           $59.05     $59.05
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                                                                                            34830, 78720




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                       CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                             Benefits and Recovery




71   681813043385450       001               99999                MEDICARE PROVIDER   ICD-9   51881,3211,    01/28/2013   01/28/2013   $124.00           $59.05     $59.05
                                                                                              34830, 78720
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71   681813043385440       001               99999                MEDICARE PROVIDER   ICD-9   51881,3211,    01/29/2013   01/29/2013   $124.00           $5,9.05    $59.05
                                                                                              34830, 78720

71   681813043385480       001               99999                MEDICARE PROVIDER   ICD-9   51881,3211,    01/30/2013   01/30/2013   $124.00           $59.05     $59.05
                                                                                              34830, 78720

71   681813043385470       001               99999                MEDICARE PROVIDER   ICD-9   51881,3211,    01/31/2013   01/31/2013   $124.00           $59.05     $59.05
                                                                                              34830, 78720

71   681913038010420       001               99999                MEDICARE PROVIDER   ICD-9   51881,3211,    02/01/2013   02/01/2013   $124.00           $59.05     $59.05
                                                                                              34830, 78720

71   681913046118480       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,   02/02/2013   02/02/2013   $175.00           $85.22     $85.22
                                                                                              3211,34830

71   681913046118460       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,   02/03/2013   02/03/2013   $175.00           $85.22     $85.22
                                                                                              3211,34830

71   681913046118650       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,   02/04/2013   02/04/2013   $175.00           $85.22     $85.22
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71   681913046118380       001               99999                MEDICARE PROVIDER   ICD-9   00845,3211,    02/05/2013   02/05/2013   $175.00           $85.22     $85.22
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                                                                                              34830,51881                                                                                                                                                   c

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71   681913046118360       001               99999                MEDICARE PROVIDER   ICD-9   00845,3211,    02/06/2013   02/06/2013   $175.00           $85.22     $85.22                                                                                  t»

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71   681913046118400        001              99999                MEDICARE PROVIDER   ICD-9   00845, 3211,   02/07/2013   02/07/2013   $175.00           $85.22     $85.22                                                                                  c\


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71   681913046118520        001              99999                MEDICARE PROVIDER   ICD-9   00845, 3211,   02/08/2013   02/08/2013   $175.00           $85.22     $85.22
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                                                                  MOUDGAL, VARSHA V
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                                                                                                                                       $175.00



                                                                                                                                       $124.00



                                                                                                                                       $124.00
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                        CMS
                       CENTERS FOR MEDICARE & MEDICAID SERVICES
                                                                                                                                             Benefits and Recovery




71   681913053196580       001               99999                MEDICARE PROVIDER   ICD-9   00845,3211,     02/10/2013   02/10/2013   $124.00           $59.05     $59.05
                                                                                              34830,51881
                                                                                                                                                             1
71   681913053196590       001               99999                MEDICARE PROVIDER   ICD-9   00845,3211,     02/11/2013   02/11/2013   $124.00           $59.05     $59.05
                                                                                              34830,51881

71   681913053196600       001               99999                MEDICARE PROVIDER   ICD-9   00845,3211,     02/12/2013   02/12/2013   $124.00           $59.05     $59.05
                                                                                              34830,51881

71   681913053196610       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,    02/14/2013   02/14/2013   $175.00           $85.22     $85.22
                                                                                              3211,8770

71   681813057188920       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,    02/15/2013   02/15/2013   $124.00           $59.05     $59.05
                                                                                              3211,8770

71   681813057188930       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,    02/16/2013   02/16/2013   $124.00           $59.05     $59.05
                                                                                              3211,8770

71   681813060262530       001               99999                MEDICARE PROVIDER   ICD-9   28860, 00845,   02/17/2013   02/17/2013   $175.00          $85.22      $85.22
                                                                                              3211,51881

71   681813060262540       001              99999                 MEDICARE PROVIDER   ICD-9   28860, 00845,   02/18/2013   02/18/2013   $175.00           $85.22     $85.22
                                                                                              3211,51881

71   681813060262520       001               99999                MEDICARE PROVIDER   ICD-9   3211,00845,     02/19/2013   02/19/2013   $175.00          $85.22      $85.22
                                                                                              28860,51881

71   681813060262510       001               99999                MEDICARE PROVIDER   ICD-9   3211,00845,     02/20/2013   02/20/2013   $175.00          $85.22      $85.22
                                                                                              28860,51881

71   681813060262550       001              99999                 MEDICARE PROVIDER   ICD-9   3211,00845,     02/21/2013   02/21/2013   $175.00          $85.22      $85.22
                                                                                              28860,51881

71   681813067017860       001              99999                 MEDICARE PROVIDER   ICD-9   51881,00845,    02/22/2013   02/22/2013   $175.00          $85.22      $85.22
                                                                                              28860, 3211

71   681913060347020       001              99999                 MEDICARE PROVIDER   ICD-9   51881,00845,    02/23/2013   02/23/2013   $175.00          $85.22      $85.22
                                                                                              28860, 3211

71   681813067017900       001              99999                 MEDICARE PROVIDER   ICD-9   51881,00845,    02/24/2013   02/24/2013   $175.00          $85.22      $85.22
                                                                                              28860, 3211

71   681813067017890       001              99999                 MEDICARE PROVIDER   ICD-9   51881,00845,    02/25/2013   02/25/2013   $175.00          $85.22      $85.22
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                        CMS                                                                                                            COBR       Coordination of
                       CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                             Benefits and Recovery




71   681813080146730       001               08202                OTTO, MICHAEL       ICD-9   3211,28860,    02/25/2013   02/25/2013   $175.00           $85.22     $85.22
                                                                                              3241, 78060

71   681813067017870       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,   02/26/2013   02/26/2013   $175.00           $85.22     $85.22
                                                                                              3211,8770

71   681813067017880       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,   02/27/2013   02/27/2013   $175.00           $85.22     $85.22
                                                                                              3211,8770

71   681813067017910       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,   02/28/2013   02/28/2013   $175.00           $85.22     $85.22
                                                                                              3211,8770

71   681913077463920       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,   03/01/2013   03/01/2013   $175.00           $85.22     $85.22
                                                                                              3211,8770

71   681913150130740       001               08202                MOUDGAL, VARSHA V   ICD-9   3211,00845,    03/01/2013   03/01/2013   $175.00           $85.22     $85.22
                                                                                              3241, 5990

71   681913150130740       002               08202                MOUDGAL, VARSHA V   ICD-9   3211,00845,    03/05/2013   03/05/2013   $175.00           $85.22     $85.22
                                                                                              3241,5990

71   681913150130740       003               08202                MOUDGAL, VARSHA V   ICD-9   3211,00845,    03/09/2013   03/09/2013   $175.00            $0.00      $0.00
                                                                                              3241,5990
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71   681813080139450       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,   03/02/2013   03/02/2013   $124.00           $59.05     $59.05                                                                                 CM
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                                                                                              3211,8770                                                                                                                                                    o

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71   681813080139510        001              99999                MEDICARE PROVIDER   ICD-9   51881,00845,   03/03/2013   03/03/2013   $124.00           $59.05     $59.05                                                                                 N-

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71   681813080139490        001              99999                MEDICARE PROVIDER   ICD-9   51881,00845,   03/04/2013   03/04/2013   $124.00           $59.05     $59.05                                                                                 CM
                                                                                                                                                                                                                                                           CM
                                                                                              3211,8770                                                                                                                                                    Jf



71   681813119244800        001              08202                MOUDGAL, VARSHA V   ICD-9   3211,3241,     03/04/2013   03/04/2013   $175.00           $85.22     $85.22
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                                                                  MOUDGAL, VARSHA V



                                                                  MOUDGAL, VARSHA V



                                                                  MOUDGAL, VARSHA V
                                                                                      ICD-9



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                                                                                              3211,3241,
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                        CMS
                       CENTERS FOR MEDICARE & MEDICAID SERVICES
                                                                                                                                            Benefits and Recovery




71   681813119244800       005               08202                MOUDGAL, VARSHA V   ICD-9   3211,3241,     03/13/2013   03/13/2013   $124.00           $59.05     $59.05
                                                                                              51881,5990
                                                                                                                                                            i
71   681813119244800       006               08202                MOUDGAL, VARSHA V   ICD-9   3211,3241,     03/14/2013   03/14/2013   $124.00           $59.05     $59.05
                                                                                              51881,5990

71   681813119244800       007               08202                MOUDGAL, VARSHA V   ICD-9   3211,3241,     03/15/2013   03/15/2013   $124.00          $59.05      $59.05
                                                                                              51881,5990

71   681813119244800       008              08202                 MOUDGAL, VARSHA V   ICD-9   3211,3241,     03/18/2013   03/18/2013   $175.00           $85.22     $85.22
                                                                                              51881,5990

71   681813119244800       009              08202                 MOUDGAL, VARSHA V   ICD-9   3211,3241,     03/22/2013   03/22/2013   $175.00          $85.22      $85.22
                                                                                              51881,5990

71   681813080139500       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,   03/05/2013   03/05/2013   $124.00          $59.05      $59.05
                                                                                              3211,8770

71   681813080139470       001              99999                 MEDICARE PROVIDER   ICD-9   51881,00845,   03/06/2013   03/06/2013   $124.00          $59.05      $59.05
                                                                                              3211,8770

71   681813080139460       001              99999                 MEDICARE PROVIDER   ICD-9   51881,00845,   03/07/2013   03/07/2013   $124.00          $59.05      $59.05
                                                                                              3211,8770

71   681813080139480       001              99999                 MEDICARE PROVIDER   ICD-9   51881,00845,   03/08/2013   03/08/2013   $124.00          $59.05      $59.05
                                                                                              3211,8770

71   681913115341690       001              08202                 FRANKO, ALEXANDER   ICD-9   51881,2769,    03/09/2013   03/09/2013   $175.00          $85.22      $85.22
                                                                  P                           3211,7904,
                                                                                              8770

71   681913115341670       001              08202                 FRANKO, ALEXANDER   ICD-9   51881,00845,   03/10/2013   03/10/2013   $175.00          $85.22      $85.22
                                                                  P                           2769, 3211,
                                                                                              7904, 8770

71   681913115341640       001              08202                 FRANKO, ALEXANDER   ICD-9   51881,00845,   03/11/2013   03/11/2013   $175.00          $85.22      $85.22
                                                                  P                           2769, 3211,
                                                                                              7904, 8770

71   681913115341660       001              08202                 FRANKO, ALEXANDER   ICD-9   51881,00845,   03/12/2013   03/12/2013   $175.00          $85.22      $85.22
                                                                  P                           2769, 3211,
                                                                                              7904, 8770
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                                                                                                                                                                     Page 24 of 33
                        CMS                                                                                                             COB R     Coordination of
                       CENTERS FOR MEDICARE & MEOICAJD SERVICES                                                                              Benefits and Recovery




71   681813101205030       001               08202                FRANKO, ALEXANDER   ICD-9   51881,00845,    03/13/2013   03/13/2013   $175.00           $85.22     $85.22
                                                                  P                           262, 2859,
                                                                                              72887, 8770
                                                                                                                                                             t
71   681813101205040       001               08202                FRANKO, ALEXANDER   ICD-9   51881,0463,     03/14/2013   03/14/2013   $175.00           $85.22     $85.22
                                                                  P                           262, 2859,
                                                                                              28860, 72887,
                                                                                              8770

71   681813101205020       001               08202                FRANKO, ALEXANDER   ICD-9   51881,0463,     03/15/2013   03/15/2013   $175.00           $85.22     $85.22
                                                                  P                           262, 2859,
                                                                                              28860, 72887,
                                                                                              8770

71   681813134103570       001               08202                SESTAK, DANIEL W    ICD-9   51881,00845,    03/16/2013   03/16/2013   $175.00           $85.22     $85.22
                                                                                              262, 2769,
                                                                                              2859, 72887,
                                                                                              8770

71   681913088672350       001               08202                MCCABE, VITA V      ICD-9   51884, 3211     03/17/2013   03/17/2013   $169.15           $85.22     $85.22

71   681813134103560       001               08202                SESTAK, DANIEL W    ICD-9   51881,00845,    03/17/2013   03/17/2013   $175.00           $85.22     $85.22
                                                                                              262, 2769,                                                                                                                                                    00
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                                                                                              2859, 72887,                                                                                                                                                  CM
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                                                                                              8770                                                                                                                                                          a

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71   681813134103450       001               08202                SESTAK, DANIEL W    ICD-9   51881,00845,    03/18/2013   03/18/2013   $175.00           $85.22     $85.22                                                                                 i--

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                                                                                              7904, 8770                                                                                                                                                    CO



71   681813134103500       001               08202                SESTAK, DANIEL W    ICD-9   51881, 00845,   03/19/2013   03/19/2013   $175.00           $85.22     $85.22
                                                                                              262, 2769,
                                                                                              2859, 3211,
                                                                                              7904, 8770

71   681813134103510        001              08202                SESTAK, DANIEL W    ICD-9   51881,00845,
                                                                                              262, 2769,
                                                                                              2859, 3211,
                                                                                              7904, 8770
                                                                                                              03/20/2013   03/20/2013   $175.00           $85.22     $85.22
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                                                                                                                                                                      Page 25 of 33
                        CMS                                                                                                             COBR      Coordination of
                       CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                             Benefits and Recovery




71   681813134103480       001               08202                SESTAK, DANIEL W    ICD-9   51881,00845,   03/21/2013   03/21/2013   $175.00           $85.22     $85.22
                                                                                              262, 2769,
                                                                                              2859, 3211,
                                                                                              7904, 8770

71   681813134103470       001               08202                SESTAK, DANIEL W    ICD-9   51881,00845,   03/22/2013   03/22/2013   $175.00           $85.22     $85.22
                                                                                              262, 2769,
                                                                                              2859, 3211,
                                                                                              7904, 8770

71   681813119244770       001               08202                OTTO, MICHAEL       ICD-9   3211,3241,     03/26/2013   03/26/2013   $175.00           $85.22     $85.22
                                                                                              8770

71   681813101205190       001               08202                UPPALA, PHANIBINB   ICD-9   51881,00845,   03/28/2013   03/28/2013   $124.00           $59.05     $59.05
                                                                                              262, 2769,
                                                                                              2859, 3211,
                                                                                              7904, 8770

71   681813101205180       001               08202                UPPALA, PHANIBINB   ICD-9   51881,00845,   03/29/2013   03/29/2013   $124.00           $59.05     $59.05
                                                                                              262, 2769,
                                                                                              2859, 3211,
                                                                                              7904, 8770

71   681813134103490       001               08202                SESTAK, DANIEL W    ICD-9   51881,00845,   03/30/2013   03/30/2013   $124.00           $59.05     $59.05
                                                                                              262, 2769,
                                                                                              2859, 3211,
                                                                                              7904, 8770

71   681813134103550       001               08202                SESTAK, DANIEL W    ICD-9   51881,00845,   03/31/2013   03/31/2013   $124.00           $59.05     $59.05
                                                                                              262, 2769,
                                                                                              2859, 3211,
                                                                                              7904, 8770

71   681813134103520       001              08202                 SESTAK, DANIEL W    ICD-9   51881,00845,   04/01/2013   04/01/2013   $124.00           $57.87     $57.87
                                                                                              262, 2769,
                                                                                              2859, 3211,
                                                                                              7904, 8770

71   681813134103540       001               08202                SESTAK, DANIEL W    ICD-9   51881,00845,   04/02/2013   04/02/2013   $124.00           $57.87     $57.87
                                                                                              262, 2769,
                                                                                              2859, 3211,
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                        CMS                                                                                                             CO B R    Coordination of
                       CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                              Benefits and Recovery




71   681813099521490       001               08202                KASOTAKIS, MICHAEL   ICD-9   1179           04/03/2013   04/03/2013   $299.00           $68.12     $68.12
                                                                  J
                                                                                                                                                           1
71   681813099521490       002               08202                KASOTAKIS, MICHAEL   ICD-9   1179           04/03/2013   04/03/2013    $87.00           $24.90     $24.90
                                                                  J

71   681813099521490       003               08202                KASOTAKIS, MICHAEL   ICD-9   1179           04/03/2013   04/03/2013     $0.01            $0.00      $0.00
                                                                  J

71   681813134103530       001               08202                SESTAK, DANIEL W     ICD-9   51881,00845,   04/03/2013   04/03/2013   $124.00           $57.87     $57.87
                                                                                               262, 2769,
                                                                                               2859, 3211,
                                                                                               7904, 8770

71   681813134103440       001               08202                SESTAK, DANIEL W     ICD-9   51881,00845,   04/04/2013   04/04/2013   $124.00           $57.87     $57.87
                                                                                               262, 2769,
                                                                                               2859, 3211,
                                                                                               7904, 8770

71   681813134103460       001               08202                SESTAK, DANIEL W     ICD-9   51881,00845,   04/05/2013   04/05/2013   $124.00           $57.87     $57.87
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71   681913106359610       001               08202                KLIMOVA, IRINA V                                                                                                                                                                          a
                                                                                       ICD-9   51881,00845,   04/06/2013   04/06/2013   $124.00           $57.87     $57.87
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                                                                                               262, 2769,
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71   681913106359600       001               08202                KLIMOVA, IRINA V     ICD-9   51881,00845,   04/07/2013   04/07/2013   $124.00           $57.87     $57.87
                                                                                               262, 2769,
                                                                                               2859, 3211,
                                                                                               7904, 8770

71   681913106359620       001               08202                KLIMOVA, IRINA V     ICD-9   51881,00845,   04/08/2013   04/08/2013   $124.00           $57.87     $57.87




71   681813109225730       001               08202                KLIMOVA, IRINA V     ICD-9
                                                                                               262, 2769,
                                                                                               2859, 3211,
                                                                                               7904, 8770

                                                                                               51881,00845,
                                                                                               262, 2769,
                                                                                                              04/09/2013   04/09/2013   $124.00           $57.87     $57.87
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                                                                                               7904, 8770




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                                                                                                                                                          .&
                        CMS                                                                                                                         Coordination of
                       CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                Benefits and Recovery




71   681813112739750       001               08202                GROSS, STEVEN N       ICD-9   1179            04/09/2013   04/09/2013   $200.00           $83.52      $83.52

71   681813109225750       001               08202                KLIMOVA, IRINA V      ICD-9   51881,00845,    04/10/2013   04/10/2013   $124.00           $^7.87      $57.87
                                                                                                262, 2769,
                                                                                                                                                               .»
                                                                                                2859, 3211,
                                                                                                7904, 8770

71   681813109225770       001               08202                KLIMOVA, IRINA V      ICD-9   51881,00845,    04/11/2013   04/11/2013   $124.00           $57.87      $57.87
                                                                                                262, 2769,
                                                                                                2859, 3211,
                                                                                                7904, 8770

71   681813109225740       001              08202                 KLIMOVA, IRINA V      ICD-9   51881,00845,    04/12/2013   04/12/2013   $179.00           $86.32      $86.32
                                                                                                2769, 3211,
                                                                                                7904, 8770

71   681813182263550       001               08202                SIDDIQUI HAMZAVI, I   ICD-9   51881,2859,     04/15/2013   04/15/2013   $195.00         $136.57      $136.57
                                                                                                28860, 29420

71   681813116569610       001               08202                STRICKLER, MARC L     ICD-9   1179            04/16/2013   04/16/2013   $200.00         $108.40      $108.40

71   681813182263610       001               08202                SIDDIQUI HAMZAVI, J   ICD-9   28860, 2639,    04/17/2013   04/17/2013   $150.00          $72.86       $72.86
                                                                                                29420

71   681813135596290       001              08202                 STRICKLER, MARC L     ICD-9   1179            05/05/2013   05/05/2013   $125.00          $55.75       $55.75

71   681913154591480       001              08202                 KACHMAN, ALICE M      ICD-9   1179,00845,     05/09/2013   05/09/2013   $230.00         $109.03      $109.03
                                                                                                2639, 28529,
                                                                                                29420, 3241,
                                                                                                4011,78720,
                                                                                                7993

71   681813234129200       001              08202                 MOUDGAL, VARSHA V     ICD-9   1179, E9320,    05/09/2013   05/09/2013   $231.00         $117.50      $117.50
                                                                                                3211,3241

71   681913154591970       001              08202                 KACHMAN, ALICE M      ICD-9   1179, V4611,    05/14/2013   05/14/2013   $140.00          $72.86       $72.86
                                                                                                00845, 2630,
                                                                                                28529, 29420,
                                                                                                3241,4011,
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                                                                                                78720, 7993
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                                                                                                                                                                         Page 28 of 33
                                                                                                                                         COBR
                         CMS                                                                                                                        Coordination of
                        CENTERS FOR MEDICARE S MEDICAID SERVICES                                                                              Benefits and Recovery




71   681813156789280        001               08202                MEKAI VEKIMA,       ICD-9   1179, 00845,    05/21/2013   05/21/2013   $140.00           $72.86      $72.86
                                                                   MARGARET B                  2630, 28529,
                                                                                               29420, 3241,
                                                                                               486, 78720,
                                                                                               7993

71   681913162273640        001               08202                KACHMAN, ALICE M    ICD-9   1179, 00845,    05/23/2013   05/23/2013   $140.00           $72.86      $72.86
                                                                                               2630, 29420,
                                                                                               4011,486,
                                                                                               78720, 7993

71   681813161-645510       001               08202                STRICKLER, MARC L   ICD-9   1179            05/28/2013   05/28/2013   $125.00           $55.75      $55.75

71   681913164126060        001               08202                KACHMAN, ALICE M    ICD-9   3211, V4611,    05/29/2013   05/29/2013   $140.00           $72.86      $72.86
                                                                                               2630, 28529,
                                                                                               29420, 3241,
                                                                                               4011,51884,
                                                                                               78720

71   681813165745320        001               08202                MEKAI VEKIMA,       ICD-9   3211, V4611,    06/04/2013   06/04/2013   $140.00           $72.86      $72.86
                                                                   MARGARET B                  2630, 28529,
                                                                                               29420, 3241,
                                                                                               4011,51884,                                                                                                                                                    LT
                                                                                               78720                                                                                                                                                          a

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71   681813169792970         001              08202                KACHMAN, ALICE M    ICD-9   3211, V4611,    06/07/2013   06/07/2013   $140.00           $72.86      $72.86                                                                                 c

                                                                                               00845, 28529,                                                                                                                                                  N

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                                                                                               29420, 3241,                                                                                                                                                   N

                                                                                               4011,51884                                                                                                                                                     C
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71   681813170454770        001               08202                STRICKLER, MARC L   ICD-9   1179            06/11/2013   06/11/2013   $125.00           $55.75      $55.75

71   681913175453640        001               08202                MEKAI VEKIMA,       ICD-9   51881, V4611,   06/11/2013   06/11/2013   $140.00           $72.86      $72.86
                                                                   MARGARET B                  00845, 2630,
                                                                                               28529, 29420,



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     681913171329730

     681913175454460
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                                                                   MOUDGAL, VARSHA V

                                                                   KACHMAN, ALICE M
                                                                                       ICD-9

                                                                                       ICD-9
                                                                                               3211,3241

                                                                                               3241,3211

                                                                                               51881, V4611,
                                                                                               00845, 2630,
                                                                                                               06/13/2013

                                                                                                               06/13/2013
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                                                                                                                            06/13/2013
                                                                                                                                         $231.00

                                                                                                                                         $230.00
                                                                                                                                                         $117.50

                                                                                                                                                         $109.03
                                                                                                                                                                      $117.50

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                                                                                               28529, 29420,
                                                                                               3211,3241




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                                                                                                                                                       Coordination of
                        CMS
                       CENTERS FOR MEDICARE & MEDICAID SERVICES
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71   681913183207710       001               08202                MEKAI VEKIMA,       ICD-9   1179, 00845,     06/18/2013     06/18/2013     $140.00           $72.86      $72.86
                                                                  MARGARET B                  29420, 3241,
                                                                                              78720
                                                                                                                                                                  1
71   681913178082600       001               08202                KACHMAN, ALICE M    ICD-9   1179, 00845,     06/20/2013     06/20/2013     $140.00           $72.86      $72.86
                                                                                              29420, 3241,
                                                                                              78720

71   681813191424720       001               08202                MEKAI VEKIMA,       ICD-9   1179,00845,      06/25/2013     06/25/2013     $140.00           $72.86      $72.86
                                                                  MARGARET B                  29420, 3241,
                                                                                              78720

71   681813189410130       001               08202                STRICKLER, MARC L   ICD-9   1179             06/27/2013     06/27/2013     $150.00          $72.86       $72.86

71   681913193328650       001              08202                 KACHMAN, ALICE M    ICD-9   1179, V462,      06/28/2013     06/28/2013     $140.00          $72.86       $72.86
                                                                                              00845, 29420,
                                                                                              3241,78720

71   681913205156370       001              08202                 MEKAI VEKIMA,       ICD-9   51881, V462,     07/02/2013     07/02/2013     $230.00         $109.03      $109.03
                                                                  MARGARET B                  00845, 1179,
                                                                                              29420, 3241,
                                                                                              78720, 79902

71   681913210204670       001              08202                 MEKAI VEKIMA,       ICD-9   51881, V462,     07/09/2013     07/09/2013     $140.00          $72.86       $72.86
                                                                  MARGARET B                  00845, 1179,
                                                                                              29420, 3241,
                                                                                              78720, 79902

71   681913213144480       001              08202                 KACHMAN, ALICE M    ICD-9   3211, V4611,     07/17/2013     07/17/2013     $140.00          $72.86       $72.86
                                                                                              00845, 3241,
                                                                                              51884

71   681813210627040       001              08202                 STRICKLER, MARC L   ICD-9   1179             07/21/2013     07/21/2013     $125.00          $55.75       $55.75

71   681913224070020       001              08202                 KACHMAN, ALICE M    ICD-9   00845, V4611,    07/22/2013     07/22/2013     $140.00          $72.86       $72.86
                                                                                              3211,3241,
                                                                                              51884, 78720

71   681813220140220       001              08202                 MOUDGAL, VARSHA V   ICD-9   1 1 79, E9320,   07/25/20 1 3   07/25/20 1 3   $231.00         $117.50      $117.50
                                                                                              3211,3241

71   681813228115590       001              08202                 MALANI, ANURAG N    ICD-9   28860, E8751,    07/28/2013     07/28/2013     $333.00        $164.83       $164.83
                                                                                                                                                                                            Case 1:13-md-02419-RWZ Document 3583-6 Filed 06/11/22 Page 31 of 34




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                       CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                 Benefits and Recovery




71   681813220134370       001               08202                ENGERS, DREW         ICD-9   28860, E8751,   07/29/2013   07/29/2013    $124.00            $57.87      $57.87
                                                                                               00845, 3241

71   681813220134360       001               08202                NOUREDDINE, WASSIM   ICD-9   28860, E8751,   07/30/2013   07/30/2013    $175.00            $83.52      $83.52
                                                                                               00845, 3241

71   681813219156530       001               08202                NOUREDDINE, WASSIM   ICD-9   28860, E8751,   07/31/2013   07/31/2013    $124.00            $57.87      $57.87
                                                                                               00845, 3241

71   681813220134380       001               08202                KENKRE, CHAYA        ICD-9   28860, E8751,   08/01/2013   08/01/2013    $175.00            $83.52      $83.52
                                                                                               00845, 3241

71   681813241043010       001               08202                CUCCHI, ANTHONY P    ICD-9   3229            08/01/2013   08/01/2013    $140.00            $57.87      $57.87

71   681813221118100       001               08202                KENKRE, CHAYA        ICD-9   28860, E8751,   08/02/2013   08/02/2013    $124.00            $57.87      $57.87
                                                                                               00845, 3241

71   681913221218300       001               08202                KENKRE, CHAYA        ICD-9   28860, E8751,   08/03/2013   08/03/2013    $124.00            $57.87      $57.87
                                                                                               00845, 3241

71   681813225176780       001               08202                KENKRE, CHAYA        ICD-9   28860, E8751,   08/04/2013   08/04/2013    $124.00            $57.87      $57.87
                                                                                               00845, 3241

71   681813227203100       001               08202                KENKRE, CHAYA        ICD-9   28860, E8751,   08/05/2013   08/05/2013    $124.00            $57.87      $57.87
                                                                                                                                                                                                                                                                 LT
                                                                                               00845, 3241
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71   681813228773590       001               08202                DEMEESTER, IAMES S   ICD-9   3211, V8739     08/05/2013   08/05/2013   $1,300.00         $117.07      $117.07
                                                                                                                                                                                                                                                                 c


71   681813310725490       001               08202                SHEFFIELD, JASON D   ICD-9   3211, V8739     08/05/2013   08/05/2013    $630.00          $117.07      $117.07

71   681813227203090       001               08202                KENKRE, CHAYA        ICD-9   28860, E8751,   08/06/2013   08/06/2013    $179.00            $86.32      $86.32
                                                                                                                                                                                                                                                                 g
                                                                                               00845, 3241

71   681913233054760       001               08202                KACHMAN, ALICE M     ICD-9   00845, V4611,   08/07/2013   08/07/2013    $270.00          $136.57      $136.57
                                                                                               3211,3241,
                                                                                               51884, 78720

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     681913231306330



     681813234129190
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                                                                  REZAZADEGAN,
                                                                  MALIHE

                                                                  MOUDGAL, VARSHA V
                                                                                       ICD-9



                                                                                       ICD-9
                                                                                               99592, 24981
                                                                                               486,78791

                                                                                               486, E8751,
                                                                                               3241
                                                                                                               08/12/2013



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                                                                                                                                          $333.00



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71   681813234129190        002              08202                MOUDGAL, VARSHA V    ICD-9   486, E8751,     08/13/2013   08/13/2013    $124.00            $57.87      $57.87
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71   681813241141020       001               08202                MOUDGAL, VARSHA V   ICD-9   486, E8751,    08/14/2013   08/14/2013   $124.00           $57.87      $57.87
                                                                                              3211,3241

71   681813241141030       001               08202                MOUDGAL, VARSHA V   ICD-9   486, E8751,    08/15/2013   08/15/2013   $124.00           $57.87      $57.87
                                                                                              3211,3241

71   681813252139980       001               08202                GUPTA, ABHA         ICD-9   486, 3211,     08/15/2013   08/15/2013   $124.00           $57.87      $57.87
                                                                                              70724, 78791

71   681813252139960       001               08202                GUPTA, ABHA         ICD-9   486, E8751,    08/16/2013   08/16/2013   $124.00           $57.87      $57.87
                                                                                              3211,3241

71   681913263215570       001               08202                MOUDGAL, VARSHA V   ICD-9   486, E8751     08/16/2013   08/16/2013   $124.00           $57.87      $57.87
                                                                                              3211,3241

71   681913246552180       001               08202                FAMAKINWA, TITILOLA ICD-9   486, E8751,    08/17/2013   08/17/2013   $179.00          $86.32       $86.32
                                                                  A                           3211,3241

71   681813247681490       001              08202                 QUEST DIAGNOSTICS   ICD-9   1369           08/20/2013   08/20/2013    $34.32              $3.64     $3.64
                                                                  INCORP MI

71   681813247681490       002              08202                 QUEST DIAGNOSTICS   ICD-9   1369           08/20/2013   08/20/2013    $19.76              $2.94     $2.94
                                                                  INCORP MI

71   681813247681490       003              08202                 QUEST DIAGNOSTICS   ICD-9   1369           08/20/2013   08/20/2013    $40.56          $10.47       $10.47
                                                                  INCORP MI

71   681813247681490       004              08202                 QUEST DIAGNOSTICS   ICD-9   1369           08/20/2013   08/20/2013    $62.39          $14.02       $14.02
                                                                  INCORP MI

71   681813247681500       001              08202                 QUEST DIAGNOSTICS   ICD-9   1369           08/20/2013   08/20/2013    $69.68              $6.97     $6.97
                                                                  INCORP MI

71   681913263215560       001              08202                 MOUDGAL, VARSHA V   ICD-9   1179, E9320,   09/12/2013   09/12/2013   $231.00         $117.50      $117.50
                                                                                              3211,3241

71   681813365166370       001              08202                 MOUDGAL, VARSHA V   ICD-9   3241, E9320,   12/05/2013   12/05/2013   $231.00         $117.50      $117.50
                                                                                              1179, 3211

71   681914024162720       001              08202                 STANDIFORD,         ICD-9   7862, V440,    01/17/2014   01/17/2014   $229.00         $138.80      $138.80
                                                                  THEODORE J                  1179, 3211

71   681814099098410       001              08202                 MOUDGAL, VARSHA V   ICD-9   1179, E9320,   03/27/2014   03/27/2014   $159.00          $86.92       $86.92
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                                                                                              3211,3241




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                        CMS                                                                                                                            Coordination of
                       CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                  Benefits and Recovery




71   681814304462740       001               08202                GOLOVOY, DAVID       ICD-9       7242          10/23/2014   10/23/2014    $339.00           $95.38     $95.38

71   681815309385320       001               08202                ANAN, THOMAS J       ICD-9       7993,29411,   08/27/2015   08/27/2015    $113.00           $54.81     $54.81
                                                                                                                                                               :!
                                                                                                   53081,73018

71   681816046674390       001               08202                ANAN, THOMAS J       ICD-9       7993,29411,   09/04/2015   09/04/2015    $113.00           $54.81     $54.81
                                                                                                   71509,73018

71   681816203335870       001               08202                US LAB & RADIOLOGY   ICD- 1 0    R4182         07/13/2016   07/13/2016     $18.00              $4.23    $4.23
                                                                  INC

71   681816203335870       002               08202                US LAB & RADIOLOGY   ICD- 1 0    R4182         07/13/2016   07/13/2016     $27.00           $10.78     $10.78
                                                                  INC

71   681816203335870       003               08202                US LAB & RADIOLOGY   ICD- 1 0    R4182         07/13/2016   07/13/2016     $27.00           $10.81     $10.81
                                                                  INC

71   681916211195900       001               08202                US LAB & RADIOLOGY   ICD- 1 0    R4182, R509   07/22/2016   07/22/2016     $18.00              $4.23    $4.23
                                                                  INC

71   681916211195900       002               08202                US LAB & RADIOLOGY   ICD- 1 0    R4182, R509   07/22/2016   07/22/2016     $27.00           $10.78     $10.78
                                                                  INC

71   681916211195900       003               08202                US LAB & RADIOLOGY   ICD- 1 0    R4182, R509   07/22/2016   07/22/2016     $27.00           $10.81     $10.81
                                                                                                                                                                                                                                                                 LT
                                                                  INC
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71   681916211195900       004               08202                US LAB & RADIOLOGY   ICD- 1 0    R4182, R509   07/22/2016   07/22/2016     $23.30           $11.54     $11.54
                                                                                                                                                                                                                                                                 c
                                                                  INC
                                                                                                                                                                                                                                                                 C

                                                                                   Sum of Total Charges:                      $823,682.68
                                                                                                                                                                                                                                                                 c
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                                                                                   Total Conditional Charges:                 $267,678.04                                                                                                                        oc
                                                                                                                                                                                   87201 825
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